                                       
                                       
                               COURT OF APPEALS
                            TENTH DISTRICT OF TEXAS
                                       
                                 March 5, 2015
                              No. 10-14-00014-CR
                                 RUBEN HEREDIA
                                      v.
                              THE STATE OF TEXAS
                                       
                                       
                         From the County Court at Law
                             Navarro County, Texas
                           Trial Court No. C34853-CR
                                       
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JUDGMENT

	This Court has reviewed the briefs of the parties and the record in this proceeding as relevant to the issues raised and finds no reversible error is presented.  Accordingly the trial court's judgment, signed on November 27, 2013, is affirmed.
	A copy of this judgment will be certified by the Clerk of this Court and delivered to the trial court clerk for enforcement.
							PER CURIAM
							SHARRI ROESSLER, CLERK

						By:    Nita Whitener			
							Deputy Clerk

